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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



UNITED STATES OF AMERICA,

                                        CRIMINAL ACTION FILE
v.
                                        NO. 1:06-cr-442-TCB
MARCUS WATKINS,

      Defendant.



                                ORDER

     This case comes before the Court on Magistrate Judge Alan J.

Baverman’s report and recommendation (the “R&R”) [228], which

recommends denying Defendant Marcus Watkins’s motion [86] to

enforce the plea agreement, and Watkins’s objections [233] thereto.

     A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take

different forms, however, depending on whether there are objections to
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the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.” 28 U.S.C.

§ 636(b)(1)(C). In contrast, those portions of the R&R to which no

objection is made need only be reviewed for “clear error.” Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006) (per curiam) (quoting

Diamond v. Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.

2005)).1

      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on




      1 Macort dealt only with the standard of review to be applied to a magistrate’s
factual findings, but the Supreme Court has indicated that there is no reason for
the district court to apply a different standard to a magistrate’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely reviewed both legal and factual conclusions for clear error. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(holding that when a magistrate’s findings of fact are adopted by the district court
without objection, they are reviewed on appeal under a “plain error standard” while
questions of law always remain subject to de novo review).

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matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

     After conducting a complete and careful review of the R&R, the

district judge “may accept, reject, or modify” the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge “may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” 28

U.S.C. § 636(b)(1)(C).

     On July 27, 2007, Watkins pleaded guilty to use of a firearm in

connection with a crime of violence. His plea agreement provided that if

he cooperated with the Government and the Government determined

that such cooperation qualified as substantial assistance pursuant to 18

U.S.C. § 3553(e) or Section 5K.1 of the sentencing guidelines, the

Government could choose to file a motion at sentencing recommending a

downward departure from the applicable guideline range.

     The Government did not file a motion for a downward departure,

and Watkins filed his motion to enforce the plea agreement. In his

motion, he alleges that the Government refuses to file a motion for

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downward departure out of bad faith, in retaliation for allegations he

made about federal agents and prosecutors.

      The Government opposes Watkins’s motion for two reasons. First,

it argues that Watkins’s cooperation did not constitute substantial

assistance. Second, it asserts that Watkins engaged in an information-

selling scheme.2 The R&R recommends denying Watkins’s motion.

Watkins objects to four of the R&R’s findings; the Court will address

each objection in turn.

      First, “Watkins objects to the Magistrate Court’s determination

that the government’s failure to file a motion to reduce his sentence was

pretextual.” [233] at 1. In the same paragraph, Watkins writes, “the

Magistrate Court’s determination that the government’s reasons for

refusing to file the 5K1.1 sentence reduction motion were pretextual is

erroneous.” Id. The R&R actually found that Watkins’s argument were

pretextual, not the Government’s decision. To the extent Watkins meant

to object to the R&R’s finding that the Government’s decision was not


      2There is evidence that Watkins sold information to inmates that those
inmates could then use to obtain sentence reductions. This information-selling
scheme is known as a Rule-35-selling scheme.

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pretextual, the Court addresses the objection with Watkins’s fourth

objection below. Regardless of the interpretation of Watkins’s argument,

his first objection is overruled.

      Next, Watkins objects to the R&R’s conclusion that he did not

prove that the Government’s failure to file a motion for downward

departure was motivated by unconstitutional vindictiveness. In his

motion to enforce the plea agreement, Watkins asserts that he alleged

improprieties within the U.S. Attorney’s Office and that the failure to

file a motion for downward departure was retaliatory and resulted from

an unconstitutional motive within the meaning of Wade v. United

States, 504 U.S. 181 (1992).

      Under Wade, federal district courts may review the Government’s

denial of a substantial-assistance motion and may impose a remedy if

they find the refusal was based on an unconstitutional motive. Here,

Watkins does not assert that the Government’s refusal to file a

substantial-assistance motion was related to race or religion or that the

“refusal to move was not rationally related to any legitimate

Government end.” Id. at 185–86. Watkins makes only generalized

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allegations of an improper motive, which are insufficient under Wade.

See United States v. Bagui-Solis, 771 F. App’x 960, 964 (11th Cir. 2019).

     Third, Watkins objects to the R&R’s determination that his

involvement in a Rule-35-selling scheme is the legal basis for denying a

motion for downward departure. In particular, he asserts that the

record shows that the Government was aware of his selling scheme but

continued to deal with him. Regardless, the plea agreement clearly

states that

     the determination as to whether [Watkins] has provided
     ‘substantial assistance’ rests solely with the Government.
     Good faith efforts by the defendant that do not substantially
     assist in the investigation of prosecution of another person
     who has committed a crime will not result in either a motion
     for downward departure or a Rule 35 motion.

[46-1] ¶ 6. That alone indicates that the Government’s decision

was lawful. Watkins’s objection is overruled.

     Moreover, the plea agreement states, “If the defendant fails to

cooperate truthfully or completely, or if the defendant engages in

additional criminal conduct or other conduct inconsistent with

cooperation, he will not be entitled to any consideration whatsoever

pursuant to this paragraph.” Id. It is clear to the Court that engaging in
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a Rule-35-selling scheme is “inconsistent with cooperation.” Therefore,

Watkins’s third objection is overruled.

     Finally, Watkins objects to the R&R’s finding that the

Government’s refusal to file a sentence reduction was not pretextual. In

particular, Watkins asserts that the Government’s failure to file a

motion to reduce based on his information-selling scheme is pretextual

and not related to a legitimate government end. However, in another

case, when the Government declined to move for a sentence reduction,

the Eleventh Circuit held that “[b]ecause the government’s decision was

based on factors related to [the defendant’s] reliability as a cooperating

witness, the government’s motion was rationally related to the

government’s undisputedly legitimate interest in promoting truthful

testimony.” United States v. Bryant, 738 F. App’x 652, 654 (11th Cir.

2018). Similarly here, the Government’s decision not to move was

rationally related to Watkins’s blatant dishonesty.

     Moreover, Watkins’s cooperation did not lead to any convictions.

Cooperation that does not lead to any convictions supports the

Government’s decision in this case. See United States v. Burns, 604 F.

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App’x 831, 834 (holding that the Government’s refusal to file a

downward departure motion because of the defendant’s poor history on

supervised release, criminal record, and assistance leading to the

arrests of only two minor players did not amount to gross abuse of

discretion). Watkins’s final objection is overruled.

     Having conducted a complete and careful review of the R&R,

including a de novo review of those portions of the R&R to which

Watkins objects to, the Court overrules Watkins’s objections [233] and

adopts as its order the R&R [228].

     IT IS SO ORDERED this 24th day of September, 2019.



                                   ____________________________________
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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